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                           EXHIBIT D
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Moustakis, Philip

From:                                 Moustakis, Philip
Sent:                                 Wednesday, October 09, 2013 2:18 PM
To:                                   trendon@buscog.com
Cc:                                   Downes, Daphne P.; Szczepanik, Valerie; Gerber, Jacob
Subject:                              SEC v. Shavers, et al, 4:13-CV-416 (RC) (ALM)
Attachments:                          2013-1009 Initial Disclosures.pdf; Exhibit A (Initial Disclosures).pdf


Mr. Shavers:

Please find attached the Commission’s initial disclosures. At your convenience, please call me to discuss the form and
format of the production referenced in the disclosures.

Best regards,
Philip Moustakis

PHILIP MOUSTAKIS • SENIOR ATTORNEY • DIVISION OF ENFORCEMENT • UNITED STATES SECURITIES & EXCHANGE COMMISSION • 3 WORLD FINANCIAL
CENTER, SUITE 400, NEW YORK, NY 10281‐1022 • (212) 336‐0542 • moustakisp@sec.gov




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                         IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION


SECURITIES AND EXCHANGE COMMISSION,

                                         Plaintiff,            CIVIL ACTION NO.
                                                               4:13-CV-416 (RC) (ALM)
                        -- against –

TRENDON T. SHAVERS AND BITCOIN
SAVINGS AND TRUST,

                                        Defendants.




                             PLAINTIFF’S INITIAL DISCLOSURES

         Pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure and the Court’s Standard

Initial Order Governing Proceedings (“OGP”), plaintiff Securities and Exchange Commission

(“Commission”) hereby makes its initial disclosures to defendants Trendon T. Shavers (“Shavers”)

and Bitcoin Savings and Trust (“BTCST” and, together with Shavers, “Defendants”). The

Commission will supplement or amend these disclosures as appropriate pursuant to Rule 26(e).

                                       GENERAL DISCLOSURE

         These disclosures reflect the results of a search of the Commission’s existing investigative

files in this matter.

                                       SPECIFIC DISCLOSURES

I.       Disclosures Pursuant to Fed. R. Civ. Pro. 26(a)(1)(A)(i) and the OGP

         A.     The following are the names and, if known, the addresses and telephone numbers of

any potential parties to this action: Ashley Shavers, 2305 South Custer Road, McKinney, TX

75077.
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       B.      Attached as Exhibit A to these disclosures are the names and, if known, the

addresses and telephone numbers of individuals whom the Commission currently believes likely

have discoverable information or knowledge of facts relevant to the claim or defense of any party;

a brief characterization of each individual’s connection to the case; and a brief description of the

subject matter of the individual’s discoverable information.

II.    Disclosures Pursuant to Fed. R. Civ. Pro. 26(a)(1)(A)(ii) and the OGP

       The following is a description by category of all documents, electronically stored

information (ESI), witness statements, and tangible things, excluding privileged or otherwise

undiscoverable material, currently in the possession custody and control of the Commission.

These documents are located at the offices of the Commission, Brookfield Place, 200 Vesey Street,

Ste. 400, New York, NY 10281-1022.

       A.      Documents and ESI concerning accounts in the name of, for the benefit of, or

controlled by Shavers at Woodforest National Bank, Mt. Gox, Dwolla, and PayPal.

       B.      Documents and ESI concerning btcst.com, buscog.com, and gpumax.com.

       C.      Documents and ESI concerning GPUMAX Technologies, LLC.

       D.      Documents, ESI, and statements concerning BTCST, provided to the Commission

by Shavers.

       E.      Documents, ESI, and statements, provided to the Commission by BTCST investors.

(The Commission is not disclosing witness interview notes or memoranda created by its attorneys

or staff because they are not witness statements, i.e., they are not intended to be substantially

verbatim recitals of witnesses’ orals statements.)




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       F.      Publicly available documents, including, without limitation, Commission

registration records; incorporation records or other public records; internet relay chat logs; and

documents, ESI, or communications available on bitcointalk.org.

       The Commission will produced the materials listed above to Defendants, except such items

that were produced to the Commission by Shavers, on a rolling basis, as soon as the parties agree

on a workable format for production.

III.   Disclosures Pursuant to Fed. R. Civ. Pro. 26(a)(1)(A)(iii) and the OGP

       In this civil enforcement action, the Commission seeks various forms of equitable relief

and remedial sanctions expressly authorized by statute. That relief includes disgorgement. With

respect to disgorgement, the Commission seeks an order requiring Defendants to disgorge the

gross proceeds of the fraudulent and unlawful sale of unregistered securities alleged in the

Complaint, and any other ill-gotten gains, and to pay prejudgment interest thereon from the date of

the violation based on the rate of interest used by the Internal Revenue Service for the

underpayment of federal income tax as set forth in 26 U.S.C. § 6621(a)(2).

       The Commission also seeks civil penalties. As to penalties, the Commission seeks an order

requiring Defendants to pay civil money penalties pursuant to Section 20(d) of the Securities Act

of 1933 [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Securities Exchange Act of 1934 [15

U.S.C. § 78u(d)(3)]. In the event the Commission prevails on any of its claims, and absent a

settlement, the Court shall determine the amount, if any, of the civil penalties according to the

criteria described in the applicable statutory provisions. Documents relevant to a determination of




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the amounts of disgorgement and civil penalties are contained in the Commission’s investigative

files in this matter, as described in Part II above.

Dated: October 9, 2013
       New York, NY

                                       By: /s/ Philip Moustakis
                                           PHILIP MOUSTAKIS (PM-1748)
                                           Attorney for Plaintiff
                                           SECURITIES AND EXCHANGE COMMISSION
                                           NEW YORK REGIONAL OFFICE
                                           Brookfield Place
                                           200 Vesey Street, Ste. 400
                                           New York, NY 10281-1022
                                           (212) 336-0542
                                           MoustakisP@sec.gov
                                           Admitted Pro Hac Vice




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                                CERTIFICATE OF SERVICE

       I hereby certify that, on this 9th day of October, 2013, I served the foregoing Initial

Disclosures, by UPS Overnight Delivery, and by email, on:

          TRENDON T. SHAVERS                      BITCOIN SAVINGS AND TRUST
          2305 South Custer Road, Apt. 1507       c/o Trendon T. Shavers
          McKinney, TX 75070                      2305 South Custer Road, Apt. 1507
          trendon@buscog.com                      McKinney, TX 75070
                                                  trendon@buscog.com



                                         /s/ Philip Moustakis
                                         PHILIP MOUSTAKIS (PM-1748)
                                         Attorney for Plaintiff
                                         SECURITIES AND EXCHANGE COMMISSION
                                         NEW YORK REGIONAL OFFICE
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